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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FAOUZI ABDUL-MENHEM JABER,

                             Plaintiff,
                                                                   20-CV-7347 (LLS)
                     -against-
                                                       ORDER DIRECTING PAYMENT OF FEE
CHRISTINA HANLEY; ANDREA LEE                           OR AMENDED IFP APPLICATION AND
SURRATT; COLLEEN MCMAHON;                                  PRISONER AUTHORIZATION
SABRINA P. SHROFF,

                             Defendants.

LOUIS L. STANTON, United States District Judge:

       Plaintiff, currently incarcerated at the Federal Correctional Complex in Coleman, Florida,

brings this action pro se. 1 To proceed with a civil action in this Court, a prisoner must either pay

$400.00 in fees – a $350.00 filing fee plus a $50.00 administrative fee – or, to request

authorization to proceed in forma pauperis (IFP), that is, without prepayment of fees, submit a

signed IFP application and a prisoner authorization. See 28 U.S.C. §§ 1914, 1915.

       If the Court grants a prisoner’s IFP application, the Prison Litigation Reform Act requires

the Court to collect the $350.00 filing fee in installments deducted from the prisoner’s account.

See 28 U.S.C. § 1915(b)(1). A prisoner seeking to proceed in this Court without prepaying fees

must therefore authorize the Court to withdraw these payments from his account by filing a

“prisoner authorization,” which directs the facility where the prisoner is incarcerated to deduct

the $350.00 filing fee 2 from the prisoner’s account in installments and to send to the Court




       1
           On September 29, 2020, the Court received Plaintiff’s amended complaint.
       2
         The $50.00 administrative fee for filing a civil action does not apply to persons granted
IFP status under 28 U.S.C. § 1915.
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certified copies of the prisoner’s account statements for the past six months. See 28 U.S.C.

§ 1915(a)(2), (b).

         Plaintiff submitted a check, but it was not for the correct amount and has therefore been

returned to him. Within thirty days of the date of this order, Plaintiff must either pay the $400.00

in fees or submit the attached amended IFP application and prisoner authorization forms. If

Plaintiff submits the amended IFP application and prisoner authorization, they should be labeled

with docket number 20-CV-7347 (LLS). 3

         The Clerk of Court is directed to mail a copy of this order to Plaintiff and note service on

the docket. No summons shall issue at this time. If Plaintiff complies with this order, the case

shall be processed in accordance with the procedures of the Clerk’s Office. If Plaintiff fails to

comply with this order within the time allowed, the action will be dismissed.

SO ORDERED.

Dated:       September 30, 2020
             New York, New York

                                                                 Louis L. Stanton
                                                                    U.S.D.J.




         3
          Plaintiff is cautioned that if a prisoner files an action that is dismissed as frivolous or
for failing to state a claim, the dismissal is a “strike” under 28 U.S.C. § 1915(g). A prisoner who
receives three “strikes” cannot file actions in forma pauperis as a prisoner, unless he is under
imminent danger of serious physical injury, and must prepay the full filing fee at the time of
filing any new action.

                                                  2
